                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                ASHEVILLE DIVISION


UNITED STATES OF AMERICA                  )               DOCKET NO. 1:06CR13
                                          )
                                          )
      v.                                  )
                                          )
1) SHAFEEQ AMEER MALIK MUHAMMAD           )
      A/K/A “Sam Wright”                  )
2) CHADMIKO JAVON STALEY                  )
      A/K/A “Chad”                        )
3) MICHAEL DWAYNE STALEY                  )
      A/K/A “Diesel”                      )
                                          )
__________________________________________)

            ORDER DISMISSING FORFEITURE OF 1994 CADILLAC DEVILLE

       Upon motion of the United States, the Court herein dismisses with prejudice the

forfeiture of the 1994 Cadillac Deville.


                                               Signed: July 31, 2007




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